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                                   RECEIVER’S REPORT
                           CIVIL ACTION CASE NO. 4:13-CV-001142

                             BARKER CYPRESS MARKET PLACE
                            17817 FM 529 – HOUSTON, TEXAS 77095

                                           February 15, 2014

Barker Cypress Market Place is a single story multi-tenant shopping center (25,625 SF) and single-tenant
grocery box (formerly occupied by HEB and vacant – 41,320 SF). The multi-tenant portion of the center was
constructed in 1999 and the grocery box in 1998. As of January 2014, the property was 24.18% leased, with the
grocery box entirely vacant. The following figures are as of January 3,1 2014.

                      Total GLA:                                       66,945 SF
                      Leased                                            9,510 SF
                      Leased & Unoccupied (HEB & Payday)               42,600 SF
                      Vacant                                           14,835 SF

As of February 1, 2014, the HEB lease expired.

APPOINTMENT OF RECEIVER:

Mark T. Fowler was appointed as Receiver on 5/30/2013.

PROPERTY MANAGEMENT

Transwestern has been retained as the property management company overseeing the day-to-day operations.

Insurance is contracted with AON Risk Services.

INCOME – INCOME 2014

The following rent payments were received in January and deposited into the Operating Account established at
Wells Fargo Bank (account no. 4941269268):

Amigo Dental                                      $2,866.67
First Pawn:                                       $4,808.00 (paid late in January)
Ultra Nails & Skincare:                           $1,018.14 (tenant is currently on free base rent)
Double Dragon:                                    $2,477.39
HEB:                                               $40,048.63
Q Salon:                                          $1,013.49 (applied from prepaid rent)
PayDay Advance                                    $2,663.02

Q Salon received abatement of rent and NNN’s for the month of Janauray; Tenant signed new lease for 63
months.

PayDay Advance has vacated the premises. Thus far, PayDay Advance has continued to pay rent after vacating
the premises.
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At a hearing before the Court, held on August 28, 2013, Houston Structures, LLC provided a summary of rents
Houston Structures, LLC received from tenants after the appointment of the Receiver. That summary is
attached hereto as Exhibit F. Per the summary from Houston Structures, LLC, rents totaling $110,378.76 were
received after the appointment of the Receiver. Houston Structures, LLC returned $32,000 of these rents to
Receiver following an order of the Court entered after the August 28th hearing. Following a September 10th
hearing, Receiver worked with Houston Structures, LLC and its counsel to come to an agreement related to the
remainder of these funds. An agreement was reached between the Receiver and Houston Structures, LLC
whereby the Receiver would pass on a hearing before the court scheduled for October 1, 2013 and Houston
Structures, LLC would provide total payments of $50,000, including a payment of $36,000 on or before
October 11, 2013, payments of $4,000 on November 11, 2013 and payments of $5,000 each on December 11,
2013 and January 10, 2014.

        The first payment of $36,000 was received by the Receiver on October 14, 2013. The second payment
was received on November 14, 2013 for $4,000. The third payment, due December 11, 2013 was received in the
full amount of $5,000 on December 11, 2013. The fourth and last payment, due January 10, 2014 was received
in the full amount of $5,000 on January 14, 2014.


PROPERTY ACTIVITY

              On February 7, 2014, the Receiver filed an “Unopposed Plea in Intervention and Unopposed
Motion to Substitute Proper Party Plaintiff” in Cause No. 2011-2933; Houston Structures, LLC v. America First
Lloyd’s Insurance Company et al.; In the 234th Judicial District Court of Harris County, Texas (the “Lawsuit”).

        The Lawsuit arises out of Defendant America First Lloyd’s Insurance Company’s (the “Insurance Co.”)
denial of a claim made by Houston Structures under a commercial property insurance policy relating to the
theft/vandalism of HVAC units at the Property. The Insurance Co. denied Houston Structure’s claim based on
a “vacancy” exclusion contained in the policy.

        Houston Structures filed the Lawsuit on September 6, 2011, asserting claims against its insurance broker
and the Insurance Co. for breach of contract, violations of the Texas Deceptive Trade Practices-Consumer
Protection Act and the Texas Insurance Code, negligence, and breach of the duty of good faith and fair dealing.
Trial is set for the two-week period beginning June 9, 2014. Other pending deadlines include March 10, 2014
(deadline to designate expert witnesses) and May 9, 2014 (discovery deadline).

       The Receiver has reviewed the pleadings in the Lawsuit, received approximately 3,000 pages of
documents produced during discovery, reviewed two deposition transcripts, and analyzed the policy issued to
Houston Structures by the Insurance Co. The Receiver has communicated with counsel for the Insurance Co. to
discuss the issues in the case.

       All things considered, and in furtherance of the maintenance, protection and preservation of the
receivership estate, including the claims and causes of action asserted in the Lawsuit, the Receiver intends to
file a motion in the Lawsuit requesting an order abating the Lawsuit in its entirety until 45 days after the
Receiver is discharged and the receivership over the Property is dissolved or terminated.

        Defendants in the Lawsuit are unopposed to an abatement. The parties are currently waiting for the state
court to sign an order substituting the Receiver into the Lawsuit as the proper party plaintiff. As soon as the
order is signed, the Receiver will file an “Unopposed Motion to Abate.”

       The Asset Manager for CW Capital had informed TW that the Note for the center had been sold. The
Receiver, the property manager and Receiver’s counsel have reached out to contact the new noteholder.
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LEASING ACTIVITY

Leasing is aggressively marketing vacancies and is currently working with the following Tenants to
renew/expand:

      Double Dragon – Expansion was executed as of September 30, 2013
      Amigo Dental – Amendment was executed as of November 25, 2013
      Quoc Nguyen dba Q Salon 2 (formerly Exclusively Yours) - Lease was executed on November 5, 2013.
      Peter Truong dba Ultra Nails - Lease was executed as of November 25, 2013.
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